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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 In re: AVANDIA MARKETING, SALES                     il\IDL No. 1871
 PRACTICES AND PRODUCfS                              i
 LIABILITY LITIGATION                                I;
 THJS DOCUMENT RELATES TO:                       !Case No.
                                                     I
                                                 !
                                                 I
 JANET KNIGHT
                         Pluintiff,
                                                     l!
                v,                               I           2:11-cv-03595-CMR

 GLAXOSMITHKLINE LLC
                                                 li
                .Defendant.                      I
            STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE

               IT IS HEREBY STIPULATED AND AGREED by and between the undersigned

attorneys of record for Plaintiff in the above-captioned action and Defendant GlaxoSmithKline

LLC ("GSK"), that all claims in the above-captioned action are dismissed with prejudice, with

each party to bear its own costs and counsel fees.

                                                          Dated:   l }q   J .;;Lo   l2_

                                                         ~/p
AlanJ. Ro      on                                         Nina M. Gussack
Sloan, Bag ey, Hatcher & Perry Law Firm                   George A. Lehner
101 East Whaley Street                                    Noel B. Ix
Longview, TX 75601                                        PEPPER HAMILTON LLP
                                                          3000 Two Logan Square
Attorney for Plaintiff                                    Eighteenth and Arch Streets
                                                          Philadelphia, PA 19103-2799
                                                          (215) 981 4000

                                                         Attorneys for Defendant
                                                         G/axoSmithKline LLC


                                                         SO ORDERED,


Dated:   J-(               '2012
                                                            n. Cynthia M. ufe
                                                           nited States District Judge
